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                                                                                             2019 May-06 PM 03:48
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            WESTERN DIVISION

    RESHAWN ARMSTRONG,                          )
                                                )
            Plaintiff,                          )
     v.                                         )
                                                )                  7:17-cv-1857-LSC
    MATTHEW G. WHITAKER,                        )
                                                )
           Defendant.
                                                )
                                                )

                              MEMORANDUM OF OPINION
          Plaintiff Reshawn Armstrong (“Plaintiff” or “Armstrong”) brings this

action against the United States Attorney General for claims emerging from her

employment at FCI Aliceville in Pickens County, Alabama. 1 Before the Court are

Defendant’s Motion to Dismiss Defamation/Libel Claim (doc. 64.) and Plaintiff’s

Motion for Leave to File Amended Complaint (doc. 69). Plaintiff has filed her

timely response to Defendant’s motion to dismiss (doc. 67). The motions are now

ripe for review. For the reasons stated below, Defendant’s Motion (doc. 64) is due

to be granted, and Plaintiff’s Motion (doc. 69) is due to be granted in part and

denied in part.



1
          The Court has ruled on two prior motions to dismiss by Defendant. (See Docs. 20 & 46.)



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    I.       BACKGROUND 2

         The facts of this case were previously discussed by this Court in its two prior

Memorandums of Opinion and Orders on Defendant’s Motions to Dismiss. (Docs.

20 & 46.) Accordingly, the Court includes only a brief overview of the relevant

facts alleged. 3 Plaintiff has been a Federal Bureau of Prisons employee since 2007.

Armstrong began work at FCI Aliceville, in Pickens County, Alabama in August of

2012. Currently, Armstrong serves as a Senior Officer Specialist. While at FCI

Aliceville, Armstrong has received exceed/excellent and outstanding ratings as well

as incentive awards for her job performance. Prior to 2015, Armstrong had no

disciplinary actions taken against her.

         In 2015, Armstrong began to apply for various jobs and promotions at other

institutions within the Department of Justice. When Armstrong applied, she alleges

that her supervisors provided a number of false and derogatory reference checks.

2
        In evaluating a motion to dismiss, this Court “accept[s] the allegations in the complaint
as true and constru[es] them in the light most favorable to the plaintiff.” Mills v. Foremost Ins.
Co., 511 F.3d 1300, 1303 (11th Cir. 2008) (quotation marks and citation omitted).The following
facts are, therefore, taken from Plaintiff’s allegations contained in the Amended Complaint, and
the Court makes no ruling on their veracity.
3
        On February 15, 2019, Armstrong filed a second amended complaint that added new
claims against the Defendant. (Doc. 59.) The Court interpreted this as an implied motion for
leave to amend and granted Armstrong leave to file her second amended complaint. (Doc. 63.)
The allegations in the second amended complaint remained consistent with Armstrong’s prior
complaints but added a number of claims, including a claim for “defamation/libel.” (Compare
Docs. 1, 10, & 59.) Armstrong has since moved to file another amended complaint that removes
certain factual allegations. (Doc. 69.) The facts, for the purposes of this opinion, remain
unchanged by Armstrong’s proposed amendment.

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Armstrong alleges that these reference checks interfered with her promotion to Gl-

9 and GS-9/11 positions at other institutions. For example, on March 30, 2015, the

Warden at FCI Aliceville is alleged to have falsely stated in her reference check that

there was an “open case” of “disciplinary action within the last two years” against

Armstrong for job announcement HR-N-2015-009-HON. The Warden again

answered yes to the question of whether Armstrong had any disciplinary action

against her within the last two years and rated Armstrong job skills as average for

job posting HR-N-2015-0009-HON, despite her prior high ratings. Armstrong

asserts that the Associate Warden at FCI Aliceville made similar statements in

Armstrong’s reference checks for job postings MEN-2015-0030-0002, BSG-2015-

0040-0001, PHX-2015-00439, HR-N-2015-0007-LOM. Armstrong alleges that at

least two reference checks were purposefully written to confuse selecting officials.

      In August 2015, Armstrong became aware of these reference checks and met

with her EEO Counselor. Subsequently, Armstrong filed an EEO Complaint

(“2015 EEO Complaint”) alleging discrimination based on sex and retaliation that

included her allegations of that the Warden and others at FCI Aliceville were

writing false and negative reference checks. After the EEO process was initiated,

Armstrong alleges that the Warden admitted “fault” regarding Armstrong’s

complaints about the contents of the reference checks.



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    II.     STANDARD OF REVIEW

           a. 12(B)(1)

      A motion to dismiss for lack of subject-matter jurisdiction filed pursuant to

Rule 12(b)(1) of the Federal Rules of Civil Procedure challenges a court’s statutory

or constitutional power to adjudicate a case. Motions to dismiss under Rule

12(b)(1) may take the form of either a facial or a factual attack. Scarfo v. Ginsberg,

175 F.3d 957, 960 (11th Cir. 1999). Under a facial attack, the allegations in the

complaint are taken as true for the purposes of the motion. Sea Vessel, Inc. v. Reyes,

23 F.3d 345, 347 (11th Cir. 1994). A factual challenge, on the other hand, questions

the existence of subject matter jurisdiction based on matters outside the pleadings.

Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990). Under a factual

challenge, the Court may hear conflicting evidence and decide the factual issues

that determine jurisdiction. Colonial Pipeline Co. v. Collins, 921 F.2d 1237, 1243

(11th Cir. 1991). The burden of proof on a Rule 12(b)(1) motion is on the party

averring jurisdiction. Thomson v. Gaskill, 315 U.S. 442, 446 (1942).

           b. 12(B)(6)

      In general, a pleading must include “a short and plain statement of the claim

showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). However, in

order to withstand a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), a



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complaint “must plead enough facts to state a claim to relief that is plausible on its

face.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1347–48 (11th Cir. 2016) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (internal quotation marks

omitted). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Stated

another way, the factual allegations in the complaint must be sufficient to “raise a

right to relief above the speculative level.” Edwards v. Prime, Inc., 602 F.3d 1276,

1291 (11th Cir. 2010). A complaint that “succeeds in identifying facts that are

suggestive enough to render [the necessary elements of a claim] plausible” will

survive a motion to dismiss. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1296 (11th Cir.

2007) (quoting Twombly, 550 U.S. at 556) (internal quotation marks omitted).

      In evaluating the sufficiency of a complaint, this Court first “identif[ies]

pleadings that, because they are no more than conclusions, are not entitled to the

assumption of truth.” Iqbal, 556 U.S. at 679. This Court then “assume[s] the[]

veracity” of the complaint’s “well-pleaded factual allegations” and “determine[s]

whether they plausibly give rise to an entitlement to relief.” Id. Review of the

complaint is “a context-specific task that requires [this Court] to draw on its

judicial experience and common sense.” Id. If the pleading “contain[s] enough



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information regarding the material elements of a cause of action to support

recovery under some ‘viable legal theory,’” it satisfies the notice pleading

standard. Am. Fed’n of Labor & Cong. of Indus. Orgs. v. City of Miami, 637 F.3d 1178,

1186 (11th Cir. 2011) (quoting Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d

678, 683–84 (11th Cir. 2001)).

    III.     DISCUSSION

            a. SUBJECT MATTER JURISDICTION

      It is well settled that “the United States, as sovereign, is ‘immune from suit

save as it consents to be sued ... and the terms of its consent to be sued in any court

define that court’s jurisdiction to entertain the suit.’” Hercules, Inc. v. United

States, 516 U.S. 417, 422 (1996) (quoting United States v. Testan, 424 U.S. 392, 399

(1976)). The Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 2671-80, provides

the exclusive remedy by which a plaintiff may seek redress for an alleged tortious

action by the federal government or one of its agents. 28 U.S.C. § 2675(a).

Armstrong’s tort claim for defamation/libel is encompassed by the FTCA and thus

her claim is subject to its requirements.

      The FTCA establishes several conditions as precedents to suits against the

United States. One of these conditions requires that, before filing suit, a plaintiff

bringing an action against the federal government must first “present[ ] the claim



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to the appropriate Federal agency.” 28 U.S.C. § 2675(a). The Supreme Court has

established that no FTCA suit may be initiated unless a claimant has exhausted his

or her administrative remedies through this process. McNeil v. United States, 508

U.S. 106, 112 (1993). When a plaintiff fails to exhaust her administrative remedies

in an FTCA case, the court is deprived of subject-matter jurisdiction. Id. The

plaintiff has the burden of alleging that he or she has exhausted her administrative

remedies in order to survive a motion to dismiss for lack of subject-matter

jurisdiction. Dalrymple v. United States, 460 F.3d 1318, 1324–26 (11th Cir. 2006);

Pompey v. Coad, 314 F. App’x. 176, 179 (11th Cir. 2008) (per curiam).

       Armstrong has failed to allege that she has exhausted her remedies by

submitting her tort claim to the relevant agency. 4 Although Armstrong did make an

EEO complaint in 2015 that mentioned the reference checks, her allegations were

based on claims of sex discrimination and provided no notice of any action under

the FTCA such that the United States would have received notice of her

defamation/libel claim. Because Armstrong has failed to fulfill the pre-filing

procedural requirements of the FTCA, this Court does not have subject-matter

jurisdiction over her defamation/libel claim and it is due to be dismissed. Even if

Armstrong had exhausted her administrative remedies, her defamation/libel claim

4
        The Bureau of Prisons has no record of Armstrong filing an administrative tort claim
against it. (Doc. 64-1.)

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would still be barred. The United States has not waived its sovereign immunity in

regard to defamation and libel claims. See 28 U.S.C. § 2680 (h) (noting that the

United States has not waived immunity to “any claims arising out of. . . libel,

slander, misrepresentation, deceit, or interference with contractual rights. . . .”);

Metz v. United States, 788 F.2d 1528, 1536 (11th Cir. 1986); O’Ferrell v. United

States, 253 F.3d 1257, 1265–66 (11th Cir. 2001). Accordingly, Armstrong’s claim

for defamation/libel would be non-actionable.

         b. FAILURE TO STATE A CLAIM

      Armstrong cites 28 U.S.C. § 4101 as providing a basis for a defamation/libel

claim against Defendant. Section 4101, however, provides definitions for the

purposes of 28 U.S.C. § 4102. Section 4102 provides a mechanism for the

recognition of foreign defamation judgments. Armstrong has not alleged that she

has received a judgment for defamation that would fall under the auspice of § 4102.

Accordingly, section 4101 does not provide a basis for Armstrong to bring a

defamation/libel claim under federal law. Therefore, Armstrong’s claim for

defamation/libel under §4101 is due to be dismissed for failure to state a claim.

         c. MOTION FOR LEAVE TO AMEND

      Plaintiff has filed a motion to amend her second amended complaint to

dismiss certain allegations without prejudice. (Doc. 69.) Armstrong’s motion to



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amend her complaint is due to be granted.5 The Court, however, will strike the

defamation/libel claim in Plaintiff’s proposed amended complaint. As discussed

above, Plaintiff has failed to satisfy the jurisdictional perquisites to bring such a

claim6, and the United States has not waived its sovereign immunity in regard to

this claim. Accordingly, Armstrong may not maintain her defamation/libel claim.

       Additionally, the Court notes that Armstrong’s race discrimination claim is

due to be struck. The Court in ruling on a prior motion to dismiss found that

Armstrong’s claims of race discrimination arising from her 2015 EEO complaint

were untimely and accordingly dismissed those claims. (See Doc. 20 at 8-12.)

Therefore, Armstrong’s claims of race discrimination to the extent they are based

on her 2015 EEOC are not before this Court as they have already been dismissed.

Although the Court found that Armstrong’s claims of race discrimination could be

maintained based on the allegations contained in her 2017 EEO complaint, Plaintiff

has now moved to dismiss without prejudice the claims arising from her 2017 EEO

complaint. Accordingly, Armstrong’s claims of race discrimination to the extent

they are based on her 2017 EEO charged are due to be dismissed without prejudice.


5
       The allegations Armstrong seeks to remove from her complaint and dismiss without
prejudice were the subject of this Court’s Memorandum of Opinion and Order of February 2,
2019. (Doc. 47.)
6
       A review of Armstrong’s proposed amended complaint does not cure this defect. (See
Doc. 69 at 16–20.)

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       Armstrong’s claims of sex discrimination, including failure to promote,

disparate treatment, retaliation, harassment, and hostile work environment, arising

from her 2015 EEO complaint as well as her claims for violations of the Fair Labor

Standards Act (“FLSA”) and intentional infliction of emotional distress 7 remain

pending before this Court. The Clerk of Court is instructed to style Armstrong’s

Motion for Leave to File Amended Complaint (doc. 69) on the docket as an

amended complaint. The Court will now treat the amended complaint located in

docket entry 69 as Plaintiff’s final amended complaint.

    IV.    CONCLUSION

       For the reasons stated above, Defendant’s Motion (doc. 64) is due to be

granted, and Armstrong’s Motion (doc. 69) is due to be granted in part and denied

in part. The Court will now treat the proposed amended complaint in docket entry

69 as Plaintiff’s final amended complaint, except that as stated above Armstrong’s

claims for defamation/libel and race discrimination are due to be struck. Plaintiff’s

claims of sex discrimination, including failure to promote, disparate treatment,

retaliation, harassment, and hostile work environment, arising from her 2015 EEO

complaint as well as her claims for violations of the FLSA and intentional infliction

of emotional distress remain pending.

7
      The Government has not moved to dismiss Armstrong’s claim for intentional infliction of
emotional distress.

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DONE and ORDERED on May 6, 2019.


                                   _____________________________
                                           L. Scott Coogler
                                      United States District Judge
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